      Case: 1:22-cv-01371-JPC Doc #: 5 Filed: 11/14/22 1 of 1. PageID #: 92




                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

MICHAEL L. WILLIAMSON,                    )     Case No. 1:22-cv-1371
                                          )
      Plaintiff,                          )     Judge J. Philip Calabrese
                                          )
v.                                        )     Magistrate Judge
                                          )     James E. Grimes, Jr.
RACHAEL WHEELER, et al.,                  )
                                          )
       Defendants.                        )
                                          )

                               JUDGMENT ENTRY

      In accordance with the Court’s accompanying Opinion and Order, the Court

DISMISSES Plaintiff’s complaint pursuant to 28 U.S.C. §§ 1915A and 1915(e)(2)(B).

Further, pursuant to 28 U.S.C. § 1915(a)(3), the Court certifies that an appeal from

this decision may not be taken in good faith.

      SO ORDERED.

Dated: November 14, 2022




                                       J. Philip Calabrese
                                       United States District Judge
                                       Northern District of Ohio
